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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE



SYMBOLOGY INNOVATIONS LLC,

      Plaintiff,

      v.                                                   C.A. NO. 1:18-cv-00566-GMS

HAMMACHER SCHLEMMER &                                      JURY TRIAL DEMANDED
COMPANY, INC

      Defendant.


                         NOTICE OF DISMISSAL WITH PREJUDICE


             Plaintiff Symbology Innovations LLC, pursuant to Fed. R. Civ. P. 41 (a), hereby

provides notice that it dismisses all of its claims in this action WITH PREJUDICE. Each party

shall bear its own costs, expenses, and attorneys' fees.

Dated: June 15th, 2018                         Respectfully Submitted,



                                               /s/ Stamatios Stamoulis
                                               Stamatios Stamoulis
                                               Stamatios Stamoulis #4606
                                               STAMOULIS & WEINBLATT LLC
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                                               /s/ Eugenio J. Torres-Oyola
                                               Eugenio J. Torres-Oyola
                                               (Pro Hac Vice Application Pending)




	
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                                            /s/ Jean G. Vidal Font
                                            Jean G. Vidal Font
                                            (Pro Hac Vice Application Pending)

                                            Ferraiuoli LLC
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                                            ATTORNEYS FOR PLAINTIFF
                                            SYMBOLOGY INNOVATIONS LLC




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on June 15th, 2018, to all counsel of record who are deemed to have

consented to electronic service via the Court's CM/ECF system per Local Rule CV-5(a)(3).



                                                   /s/Stamatios Stamoulis
                                                   Stamatios Stamoulis #4606


                     IT IS SO ORDERED this ____ day of ______ 2018.




                                           _______________________________________
                                           UNITED STATES DISTRICT COURT JUDGE




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